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               Exhibit A
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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF KENTUCKY
                   CENTRAL DIVISION AT FRANKFORT

 MID-AMERICA MILLING COMPANY,
 LLC, et al.,

              Plaintiffs,                         Case No. 3:23-cv-00072-GFVT




 CENTRAL SEAL COMPANY and
 CHARBON CONTRACTING, LLC

              Intervenor Plaintiffs,

       v.

 U.S. DEPARTMENT OF
 TRANSPORTATION, PETER P.
 BUTTIGIEG, SHAILEN BHATT, &
 TODD JETER,

              Defendants.


                             VERIFIED COMPLAINT

      Intervenor Plaintiffs, Central Seal Company (“Central Seal”) and Charbon

Contracting, LLC (“Charbon”), for their complaint against the U.S. Department of

Transportation, Peter P. Buttigieg, Shailen Bhatt, and Todd Jeter, allege as follows.

                                   INTRODUCTION

      1.     On September 23, 2024, this Court entered an order enjoining the

United States Department of Transportation (“USDOT”), and the other defendants

named in this action, as well as their successors in office, from “mandating the use

of race-based and gender-based rebuttable presumptions for United States
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Department of Transportation contracts impacted by DBE goals upon which the

Plaintiffs”, Mid-America Milling Company, LLC (“MAMCO”), and Bagshaw

Trucking Inc. (“Bagshaw”), bid.

      2.     As a result of the Court’s order, on October 8, 2024, USDOT issued a

guidance memorandum to the Kentucky Division Administrator identifying certain

contracts on which MAMCO and Bagshaw intended to bid, and directing the

Kentucky Transportation Cabinet (“KYTC”) to set 0% DBE goals for the identified

contracts. Nevertheless, USDOT’s guidance directed KYTC to “continue to fully

implement the DOT DBE program, including setting DBE contract goals on

contracts that are not identified” as involving potential bids from MAMCO and

Bagshaw.

      3.     In other words, USDOT directed KYTC to adhere to its

unconstitutional DBE program required by USDOT regulations this Court has

ruled are violative of the Equal Protections clause of the Fourteenth Amendment.

      4.     Intervenor Plaintiffs Central Seal and Charbon are two contractors on

similar footing as MAMCO and Bagshaw. Both have lost bids on projects let by

KYTC, as well as other state and federal agencies, solely as a result of these

agencies’ implementation of USDOT’s unconstitutional DBE program regulations.

Both are ready, able, and willing to bid in the future on projects impacted by DBE

programs implemented by KYTC, and other federal and state agencies.

      5.     Absent injunctive relief similar to the Court’s previously-issued

Injunction with respect to projects bid on by MAMCO and Bagshaw, Central Seal

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and Charbon will suffer equally egregious violations of their rights to equal

protection under the laws guaranteed by the Fifth and Fourteenth Amendments.

       6.     Accordingly, Central Seal and Charbon seek intervention in this

matter in order to request injunctive relief similar to the scope of the Court’s

previously issued orders with respect to MAMCO and Bagshaw, as well as to assert

the claims described in greater detail below.

                                       PARTIES

       7.     Defendant United States Department of Transportation (USDOT)

maintains offices at its Kentucky Division Office, Federal Highway Administration,

John C. Watts Federal Building, 330 West Broadway, Frankfort, Kentucky 40601.

USDOT is responsible for implementing the DBE program in Kentucky and

elsewhere, which is the subject of this lawsuit.

       8.     Defendant Peter P. Buttigieg is the Secretary of Transportation and

oversees the United States Department of Transportation. Under the

Infrastructure Investment and Jobs Act (“IIJA”) and other laws, Defendant

Buttigieg is required to administer portions of the law’s appropriations, including

the reauthorization of the DBE program in Section 11101(e)(3) of the IIJA. He is

sued in his official capacity.

       9.     Defendant Shailen Bhatt is the Administrator of the Federal Highway

Administration, United States Department of Transportation. He is, or was,

responsible for overseeing federally funded highway transportation projects,

including those funded through the DBE program. The Federal Highway

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Administration is an operating administration involved in the DBE program. He is

sued in his official capacity.

       10.    Defendant Todd Jeter is, or was, the Division Administer of the

Kentucky Division of the Federal Highway Administration. Upon information and

belief, he resides in Franklin County, Kentucky, and performs or performed his

official duties in Franklin County, Kentucky. He is, or was, responsible for the

administration of requirements governing federally funded highway projects in

Kentucky, including those projects containing racial preferences. He is sued in his

official capacity.

       11.    Intervenor Plaintiff Central Seal, a Kentucky corporation, is a premier

striping and sealing company that provides striping services in Kentucky, as well as

other states in the midwest and southeastern United States.

       12.    Intervenor Plaintiff Charbon is an employee-owned Kentucky limited

liability company that provides turn key, full service pavement preparation and

asphalt milling services in Kentucky, Tennessee, and Indiana.

                                 VENUE AND JURISDICTION

       13.    This Court has jurisdiction over this complaint under 28 U.S.C. §§

1331 and 2201, and 5 U.S.C. §§ 702 and 704, because this case presents a question

of federal law: whether the DBE program violates the guarantees of equal

protection under the United States Constitution and 5 U.S.C. § 706. This Court has

authority to issue a declaratory judgment and to order injunctive relief and other




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relief that is necessary and proper pursuant to 28 U.S.C. §§ 2201, 2022, and 2412,

and 5 U.S.C. §§ 702, 705, and 706.

      14.    Venue is appropriate in this district under 28 U.S.C. § 1391(e)(1).

Defendant USDOT maintains an office at 330 West Broadway, Frankfort, Kentucky

40601, and upon information and belief Defendant Jeter resides in Franklin

County, and performs, or performed his official duties in Franklin County. See 28

U.S.C. § 1391(e)(1)(A); LR 3.2(e). Finally, a substantial part of the events giving

rise to this claim occurred in this District and Franklin County, because this is

where Defendants’ implementation of the DBE program is causing Intervenor

Plaintiffs harm, including with respect to contracts offered and projects to be

completed within this District and Franklin County. See 28 U.S.C. § 1391(e)(1)(B);

LR 3.2(d).

                               FACTUAL BACKGROUND

      I.     Defendants administer regulations requiring implementation
             of DBE program goals.

      15.    In 1983, the federal government enacted the Disadvantaged Enterprise

Program. Since then, the law has required that ten percent of federal highway

construction funds be paid to small businesses owned and controlled by “socially

and economically disadvantaged individuals” as that term is defined in § 8(d) of the

Small Business Act. See also 49 CFR § 26.41.

      16.    USDOT implements, administers, and enforces DBE program

regulations with respect to recipients of Federal-aid highway and transit funds


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authorized by various federal laws, including the IIJA, PL 117-58, among others

(hereafter, “Recipients”). 49 CFR §§ 26.3; 26.21.

      17.    49 CFR § 26.41 requires Recipients to implement DBE programs with

a goal that no less than 10 percent of authorized funds be expended with DBEs.

      18.    49 CFR § 26.67 effectuates a rebuttable presumption that women and

certain minority groups are socially and economically disadvantaged.

      19.    49 CFR §§ 26.45 and 26.51 identify procedures that Recipients are

required to follow to create and abide by their own DBE program goals. § 26.51

requires Recipients to implement contract goals to meet any portion of their goals

which they project being unable to meet using race-neutral means. In other words,

where race-neutral and gender-neutral means of accomplishing a Recipient’s DBE

goals are not effective at meeting those goals, the Recipient must discriminate in

favor of DBEs in its bidding processes.

      20.    Kentucky constructs highways with federal aid.

      21.    Kentucky has established DBE goals according to the federal

regulations. Every month, Kentucky advertises contracts open for bid. Most of

these contracts contain a DBE participation goal, meaning that the state is

implementing their federally mandated DBE goal, and DBE businesses will have an

advantage when bidding for contracts or subcontracts.




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      II.    Implementation of DBE programs by Recipients who let
             projects on which Central Seal and Charbon bid have directly
             harmed Central Seal and Charbon.

      22.    Central Seal and Charbon are contractors who provide services

relating to infrastructure development, including asphalt preparation, milling,

striping, and other related services to state governmental entities in Kentucky as

well as other states.

      23.    Central Seal and Charbon have been and remain qualified, willing,

and able to bid on construction contracts impacted by the federal DBE program.

Central Seal and Charbon routinely bid for federally funded surface transportation

contracts in Kentucky and other states. For years, Central Seal and Charbon have

suffered discrimination by Recipients on race-based and gender-based grounds that

violates their rights to equal protection guaranteed under the Fifth and Fourteenth

Amendments to the United States Constitution.

      24.    For example, Central Seal has bid on numerous projects let by KYTC

from 2020 to the present. In these four years alone, Central Seal has submitted a

bid, but not been awarded the work, on dozens of projects impacted by DBE goals

amounting to millions of dollars’ worth of work. In many of these projects, Central

Seal submitted bids lower than their DBE competitors, but still was not awarded

the work in favor of the bidding DBEs. The dollar value of these lost projects since

2020 is nearly $4 million. As but one recent example, Central Seal submitted the

lowest subcontractor bid to perform highway construction services related to a



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project in Mason County, Kentucky in September, 2024, but was rejected in favor of

a DBE with substantially higher bid.

      25.    Charbon also bids on numerous milling and striping projects let by

KYTC which are impacted by DBE goals. Indeed, virtually all of the projects on

which Charbon bids involve DBE competition. Since the beginning of 2023,

Charbon has bid on over 80 such projects in various counties in Kentucky as a

subcontractor candidate. Despite being the lowest bid subcontractor in the letting

process for many of these projects, Charbon lost the bids in favor of a DBE so that

the prime contractor could meet DBE program goals. Additionally, even on projects

where Charbon is not the lowest bidder, if there are no DBEs bidding on such

projects, Charbon typically has an opportunity to obtain the work by negotiating its

bid price down with the prime contractor, as many contractors value highly the

quality of Charbon’s services. Where a project involves a DBE bidder, however, the

prime contractor does not negotiate the price of Charbon’s bid because these prime

contractors discriminate against Charbon in favor of DBEs so that the prime

contractor can meet the DBE contract goals.

      26.    In other words, both Charbon and Central Seal have been

discriminated against—and suffered actual injuries in the form of lost work, and

lost profits resulting from that loss of work—as a direct result of Defendants’

implementation of DBE goals with respect to KYTC-let projects in Kentucky. These

DBE goals force Charbon and Central seal to “compete in a race-based system” that

prejudices them. Mid-America Milling Company, LLC v. U.S. Dept. of Transp.,

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2024 WL 4267183, at *3 (E.D. Ky. Sept. 23, 20224) (citing Parents Involved in Cmty.

Schs. V. Seattle Sch. Dist. No. 1, 551 U.S. 701, 719 (2007)).

                     COUNT I – EQUAL PROTECTION VIOLATIONS

      27.    Central Seal and Charbon reallege and incorporate by reference the

allegations set forth above as if fully set forth herein.

      28.    The Constitution forbids “discrimination by the general government . .

. against any citizen because of his race.” Gibson v. Mississippi, 162 U.S. 565, 591

(1896).

      29.    “The liberty protected by the Fifth Amendment’s Due Process Clause

contains within it the prohibition against denying to any person the equal

protection of the laws.” United States v. Windsor, 570 U.S. 744, 774 (2012).

      30.    Gender discrimination is also unconstitutional. Courts “carefully

inspect[] official action that closes a door or denies opportunity to women (or to

men).” U.S. v. Virginia, 518 U.S. 515, 532 (1996).

      31.    Government policies that classify people by race are “presumptively

invalid”. Vitolo v. Guzman, 999 F.3d 353, 360 (6th Cir. 2021) (citing U.S. Const.

Amend. XIV; Adarand Constructors, Inc. v. Pena, 515 U.S. 200 (1995).)

      32.    “[A]ll racial classifications imposed by the government must be

analyzed by a reviewing court under strict scrutiny.” Johnson v. California, 543

U.S. 449, 505 (2005) (citation omitted). “Under strict scrutiny, the government has

the burden of proving that racial classifications are narrowly tailored measures that

further compelling governmental interests.” Id. (citation omitted).

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       33.    Likewise, as the court held in Virginia, when gender discrimination is

employed, the burden “rests entirely” on the government to offer an “exceedingly

persuasive” justification for the classification, proving that the “classification serves

important governmental objectives and that the discriminatory means employed are

substantially related to the achievement of those objectives.” 518 U.S. at 533

(citations and internal quotation marks omitted).

       34.    The federal DBE program, including Sections 11101(e)(2)-(3) of the

IIJA, impose racial and gender classifications and grant benefits (namely,

preferences, presumptions, or priorities) based on those racial and gender

classifications.

       35.    Defendants are responsible for interpreting and implementing the

federal DBE program and Sections 11101(e)(2)-(3) of the IIJA, including the race

and gender presumptions.

       36.    Central Seal and Charbon are qualified, willing, and able to apply for

federal highway and surface transportation contracts, but because the federal DBE

program treats individuals differently based on race and gender, they cannot

compete for contracts on an equal footing with DBE competitors.

       37.    The racial classifications in the federal DBE program, including those

specifically mentioned in Sections 11101(e)(2) and (3) of the IIJA and in

corresponding regulations, are unconstitutional because they violate the equal

protection guarantee in the United States Constitution. These racial classifications




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in the Infrastructure Act are not narrowly tailored to serve a compelling

government interest.

       38.   The gender-based classification in the federal DBE program, including

those specifically mentioned in Sections 11101(e)(2) and (3) of the IIJA and in

corresponding regulations, are unconstitutional because they violate the equal

protection guarantee in the United States Constitution. This gender-based

classification is not supported by an exceedingly persuasive objective, and the

discriminatory means employed are not substantially related to the achievement of

that objective.

       39.   The DBE programs implemented by these Defendants, and put into

practice by KYTC with respect to KYTC-let projects in Kentucky, directly harm

Central Seal and Charbon, and violate their constitutional rights to equal protection

under the laws. Central Seal and Charbon seek a declaratory judgment holding as

much, and also seek a preliminary injunction precluding Defendants from

mandating DBE goals with respect to projects on which Central Seal and Charbon

bid.

             COUNT II – ADMINISTRATIVE PROCEDURE ACT VIOLATIONS

       40.   Central Seal and Charbon reallege and incorporate by reference the

allegations set forth above as if fully set forth herein.

       41.   Under the Administrative Procedure Act (APA), courts shall “hold

unlawful and set aside agency action, findings, and conclusions found to be—

contrary to [a] constitutional right.” 5 U.S.C. § 706(2)(B).

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       42.   The federal DBE program is administered by regulations that impose

unconstitutional race and gender classifications—those found at 49 C.F.R pt. 26 and

13 C.F.R pt. 124.

       43.   Defendants are responsible for implementing these regulatory race and

gender presumptions in violation of equal protection guaranteed under the Fifth

Amendment’s Due Process Clause.

       44.   Therefore, the Court should set aside these regulations as

unconstitutional and violative of the APA.

       Wherefore, Central Seal and Charbon demands the following relief against

       Defendants:

       1.    Judgment against Defendants in an amount to be determined at trial;

       2.    Preliminary and permanent injunctive relief enjoining Defendants

from applying all unconstitutional and illegal race and gender-based classifications

in the federal DBE program, including those set out in Sections 11101(e)(2)—(3) of

the Infrastructure Act, the Small Business Act, 49 C.F.R. pt. 26, and 13 C.F.R. pt.

124.

       3.    Declaratory judgment that the race and gender-based classifications in

the federal DBE program, including those set out in Sections 11101(e)(2)—(3) of the

IIJA, the Small Business Act, 49 C.F.R. pt. 26, and 13 C.F.R. pt. 124, are

unconstitutional and otherwise violate the APA.




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      4.     All fees and expenses incurred in pursuing this action, including but

not limited to attorney’s fees to the extent permitted by law, including but not

limited to 28 U.S.C. § 2412.

      5.     Trial by jury on all issues so triable;

      6.     Any and all other relief to which they are entitled.




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                                  Respectfully submitted on January 1, 2025.

                                  /s/ Frederick R. Bentley III
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                           CERTIFICATE OF SERVICE

      This is to certify that the foregoing was served on all following counsel of
record via the Court’s electronic filing system on this 1st day of January, 2025.


                                        /s/ Frederick R. Bentley III
                                        Frederick R. Bentley III




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